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 8                               UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
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     MIMI ROSALES,
11                                                         Case No.: 2:20-cv-00668-JCM-NJK
             Plaintiff(s),
12                                                                        Order
     v.
13                                                                    [Docket No. 9]
     HORACE MANN TEACHERS
14   INSURANCE COMPANY, et al.,
15           Defendant(s).
16          Plaintiff filed notice of Rule 26(f) conference. Docket No. 9. Discovery-related documents
17 must be served on opposing counsel, not filed on the docket unless ordered by the Court. See
18 Local Rule 26-8; see also Fed. R. Civ. P. 5(d)(1). No such order has been entered in this case.
19 Accordingly, the Court STRIKES the above-referenced document, and instructs the parties to
20 refrain from filing discovery documents on the docket in the future absent a Court order that they
21 do so.
22          IT IS SO ORDERED.
23          Dated: May 6, 2020
24                                                              ______________________________
                                                                Nancy J. Koppe
25                                                              United States Magistrate Judge
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